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April 30, 2025 25-mce- DAD

FILED ENTERED
VIA FEDERAL EXPRESS _-—— LOGGED —BL receives
Office of the Clerk
United States District Court MAY 21 2025
101 West Lombard Street AT BALTIMORE
Baltimore, MD 21201 CLERK US OSTA AND
BY DEPUTY

RE: Stephen J. Scherf, SBA Plan Trust Administrator of the SBA Plan Trust v. Precision
Door & Hardware, Adv. Proc. No. 24-00028-AMC (Bankruptcy Court of E.D.Pa)

Dear Sir or Madam,

This firm represents Stephen J. Scherf, SBA Plan Trust Administrator of the SBA Plan
Trust (“Scherf”), the plaintiff in the above-captioned action that was venued in the Bankruptcy
Court for the Eastern District of Pennsylvania. On May 8, 2024, the Clerk of the Court entered
default judgment in favor of Scherf and against defendant, Precision Door & Hardware in the
amount of $10,426.20. Enclosed, please find the Clerk’s Certification of Judgment to be
Registered in Another District, accompanied by the Clerk’s Exemplification Certificate. Also
enclosed is.our firm’s check in the amount of $52.00 as payment of the filing fee associated with
registering this foreign judgment. ,

Kindly accept the enclosed certification for filing of the judgment in the U.S. District
Court for the District of Maryland. If you have any questions or require any further information,
please contact William Saldutti at (215) 665-3004.

Very Truly Yours,

/s/ Amanda C. Frett ,
AMANDA C. FRETT, ESQUI

/s/ William F. Saldutti IV
WILLIAM F. SALDUTTI IV, ESQUIRE

ACF/cms
Enclosures

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